Filed 03/08/16                                                                    Case 16-10713                                                                         Doc 1



       United States Bankruptcy Court for the:

        Eastern District of California

       Case number (If known): it,       /O 7/3 _,q '? Chapter
                                                       if
                                                               you are filing under:
                                                                              Chapter 7
                                                                           U Chapter 11
                                                                           U Chapter 12
                                                                           U Chapter 13
                                                                                                       i               F I I ED
                                                                                                                    MAR — 8 2016
                                                                                                          UNITED STATES B NKRUPTCY COURT
                                                                                                          _-EAERNDI$T1OFCAUFORN1A

                                                                                                             JQ                           Check if this is an
                                                                                                                                          amended filing


      Official Form 101
      Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                  12115
       The bankruptcy forms use you and Debtor I to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
      joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
       the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I and
       Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The
       same person must be Debtor I in all of the forms.
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
      (if known). Answer every question.


                    Identify Yourself

                                              About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
                   full name




                                                            .
     7W
      rite he name that is on your
          government-issued picture
                                              First name                                                     First name
          identification (for example,
          your driver's license or
          passport).                          Middle name                                                    Middle name

          Bring your picture
          identification to your meeting      Last name                                                      Last name
          with the trustee.
                                              Suffix (Sr., Jr., II, Ill)                                     Suffix (Sr., Jr., II, Ill)




         All other names you
         have used in the last 8              First name                                                     First name
         years
          Include your married or             Middle name                                                    Middle name
          maiden names.                                    ict.
                                              Last name                                                      Last name



                                              First name                                                     First name


                                              Middle name                                                    Middle name




                                                        -- - —
                                              Last name                                                      Last name




         Only the last 4 digits of
         your Social Security
         number or federal
         Individual Taxpayer
         Identificationnumber
                                              xxx
                                              OR

                                              9xx
                                                        - xx


                                                                xx   --
                                                                                          2_   xxx
                                                                                                             OR

                                                                                                             9xx
                                                                                                                       -- --
                                                                                                                           xx



                                                                                                                           xx
          (ITIN)

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      Debtor 1            ''Y    (Y%4g                     !14                                           Case number (if known)_________________________________________
                    First Name   Middle Name               Last Name




                                               About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


           Any business names
           and Employer                          .j have not used any business names or EIN5.                  U I have not used any business names or EIN5.
           Identification Numbers
           (EIN) you have used in
           the last 8 years                    Business name                                                   Business name

           Include trade names and
           doing business as names             Business name                                                   Business name




                                               EIN                                                             El N



                                               EIN                                                             El N




           Where you live                                                                                      If Debtor 2 lives at a different address:



                                               1 46 4;j         7 0 gvc
                                               Number         Street                                           Number          Street




                                                tj r-vr)
                                               City
                                                                                   (fl..
                                                                                     State    ZIP Code         City                                      State     ZIP Code

                                                          S
                                               Counti                                                          County


                                               If your mailing address is different from the one              If Debtor 2's mailing address is different from
                                               above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                               any notices to you at this mailing address.                    any notices to this mailing address.



                                               Number         Street                                           Number          Street



                                               P.O. Box                                                        P.O. Box



                                               City                                  State    ZIP Code         City                                      State     ZIP Code




      6.   Why you are choosing                Check one:                                                      Check one:
           this district to file for
           bankruptcy                             .Over the last 180 days before filing this petition,         U Over the last 180 days before filing this petition,
                                                   I have lived in this district longer than in any                   I have lived in this district longer than in any
                                                   other district,                                                    other district.

                                               U I have another reason. Explain.                               U I have another reason. Explain.
                                                      (See 28 U.S.C. § 1408.)                                         (See 28 U.S.C. § 1408.)




      Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                         page 2
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      Debtor 1
                    Firet Naree
                                        1.e
                                  Middle Name
                                                 I             S Ot4
                                                              Last Name
                                                                                                           Case number




                  Tell the Court About Your Bankruptcy Case


            The chapter of the                  Check one. (For a brief description of each, see Notice Required by 11 U.S. C. § 342(b) for Individuals Filing
            Bankruptcy Code you                 for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
            are choosing to file
                                                     Chapter 7
            under
                                                U Chapter 11
                                                U Chapter 12
                                                U Chapter 13

            How you will pay the fee            U I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                                     local court for more details about how you may pay. Typically, if you are paying the fee
                                                     yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                                     submitting your payment on your behalf, your attorney may pay with a credit card or check
                                                     with a pre-printed address.

                                                U I need to pay the fee in installments. If you choose this option, sign and attach the
                                                     Application for Individuals to Pay The Filing Fee in Installments (Official Form 1 03A).

                                                     J request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                                     By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                                     less than 150% of the official poverty line that applies to your family size and you are unable to
                                                     pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                                     Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



            Have you filed for
            bankruptcy within the
                                                10 No
                                                              District    ajç,1.rn   0,5 ki-* 4k?' When MM                  Case number
            last 8 years?
                                                                                                              I DD

                                                              District                            When                      Case number
                                                                                                          MM/ DD/YYYY

                                                              District                            When                      Case number
                                                                                                          MM/ DD/YYYY




      io. Are any bankruptcy
          cases pending or being
          filed by a spouse who is              U Yes.        Debtor                                                        Relationship to you
          not filing this case with                           District                            When                      Case number, if known_____________________
          you, or by a business                                                                           MM/DD/YYYY
          partner, or by an
          affiliate?
                                                              Debtor                                                        Relationship to you

                                                              District                            When                      Case number, if known____________________
                                                                                                          MMIDD/YYYY



      ii.   Do you rent your                    U No. Go to line 12.
            residence?                               Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your
                                                           residence?
                                                          '        No. Go to line 12.
                                                              U Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 1 O1A) and file it with
                                                                   this bankruptcy petition.



      Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                 page 3
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      Debtor I             GIIAL t'L.fw(ii                                                                      Case number (if k,roer,r)_________________________________________
                    Firet Neree       Middle Neere            Last Nanre




                  Report About Any Businesses You Own as a Sole Proprietor


          Are you a sole proprietor                     No. Go to Part 4.
          of any full- or part-time
          business?                                  U Yes. Name and location of business
          A sole proprietorship is a
          business you operate as an
                                                             Name of business, if any
          individual, and is not a
          separate legal entity such as
          a corporation, partnership, or
                                                             Number         Street
          LLC.
          If you have more than one
          sole proprietorship, use a
          separate sheet and attach it
          to this petition.
                                                               City                                                     State         ZIP Code


                                                             Check the appropriate box to describe your business:
                                                             U Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                             U Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51 B))
                                                             U Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                             U Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                             U None of the above

          Are you filing under                       If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
          Chapter 11 of the                          can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
          Bankruptcy Code and                        most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                     any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
          are you a small business
          debtor?
                                                     U No.   I am not filing under Chapter 11.
          For a definition of small
          business debtor, see                       U No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
          11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                     U Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                             Bankruptcy Code.


                  Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


          Do you own or have any                     . No
          property that poses or is
          alleged to pose a threat                   U Yes. What is the hazard?
          of imminent and
          identifiable hazard to
          public health or safety?
          Or do you own any
          property that needs
                                                               If immediate attention is needed, why is it needed?
          immediate attention?
          For example, do you own
          perishable goods, or livestock
          that must be fed, or a building
          that needs urgent repairs?
                                                               Where is the property?
                                                                                        Number         Street




                                                                                        City                                               State        ZIP Code


      Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
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      Debtor I                      tw4                     bO'k, 4ç                                            Case number
                    First Nome      Middle Nrn,e             Lest Nae




                  Explain Your Efforts to Receive a Briefing About Credit Counseling


                                                   About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):
      15. Tell the court whether
          you have received a
          briefing about credit                    You must check one:                                                You must check one:
          counseling.
                                                      I received a briefing from an approved credit                  U I received a briefing from an approved credit
                                                      counseling agency within the 180 days before I                     counseling agency within the 180 days before I
          The law requires that you                   filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
          receive a briefing about credit             certificate of completion.                                         certificate of completion.
          counseling before you file for
                                                      Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment
          bankruptcy. You must
                                                      plan, if any, that you developed with the agency.                  plan, if any, that you developed with the agency.
          truthfully check one of the
          following choices. If you
          cannot do so, you are not
                                                   U I received a briefing from an approved credit                   U I received a briefing from an approved credit
                                                      counseling agency within the 180 days before I                     counseling agency within the 180 days before I
          eligible to file.
                                                      filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                                      certificate of completion.                                         certificate of completion.
          If you file anyway, the court
                                                      Within 14 days after you file this bankruptcy petition,            Within 14 days after you file this bankruptcy petition,
          can dismiss your case, you
                                                      you MUST file a copy of the certificate and payment                you MUST file a copy of the certificate and payment
          will lose whatever filing fee
                                                      plan, if any.                                                      plan, if any.
          you paid, and your creditors
          can begin collection activities          U I certify that I asked for credit counseling
          again.
                                                                                                                      U I certify that I asked for credit counseling
                                                      services from an approved agency, but was                          services from an approved agency, but was
                                                      unable to obtain those services during the 7                       unable to obtain those services during the 7
                                                      days after I made my request, and exigent                          days after I made my request, and exigent
                                                      circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                                      of the requirement.                                                of the requirement.
                                                      To ask for a 30-day temporary waiver of the                        To ask for a 30-day temporary waiver of the
                                                      requirement, attach a separate sheet explaining                    requirement, attach a separate sheet explaining
                                                      what efforts you made to obtain the briefing, why                  what efforts you made to obtain the briefing, why
                                                      you were unable to obtain it before you filed for                  you were unable to obtain it before you filed for
                                                      bankruptcy, and what exigent circumstances                         bankruptcy, and what exigent circumstances
                                                      required you to file this case.                                    required you to file this case.
                                                      Your case may be dismissed if the court is                         Your case may be dismissed if the court is
                                                      dissatisfied with your reasons for not receiving a                 dissatisfied with your reasons for not receiving a
                                                      briefing before you filed for bankruptcy.                          briefing before you filed for bankruptcy.
                                                      If the court is satisfied with your reasons, you must              If the court is satisfied with your reasons, you must
                                                      still receive a briefing within 30 days after you file.            still receive a briefing within 30 days after you file.
                                                      You must file a certificate from the approved                      You must file a certificate from the approved
                                                      agency, along with a copy of the payment plan you                  agency, along with a copy of the payment plan you
                                                      developed, if any. If you do not do so, your case                  developed, if any. If you do not do so, your case
                                                      may be dismissed.                                                  may be dismissed.
                                                      Any extension of the 30-day deadline is granted                    Any extension of the 30-day deadline is granted
                                                      only for cause and is limited to a maximum of 15                   only for cause and is limited to a maximum of 15
                                                      days.                                                              days.

                                                   U I am not required to receive a briefing about                    U I am not required to receive a briefing about
                                                      credit counseling because of:                                      credit counseling because of:

                                                      U Incapacity. I have a mental illness or a mental                  U Incapacity. I have a mental illness or a mental
                                                                         deficiency that makes me                                           deficiency that makes me
                                                                         incapable of realizing or making                                   incapable of realizing or making
                                                                         rational decisions about finances.                                 rational decisions about finances.
                                                      U Disability. My physical disability causes me                     U Disability.      My physical disability causes me
                                                                         to be unable to participate in a                                   to be unable to participate in a
                                                                         briefing in person, by phone, or                                   briefing in person, by phone, or
                                                                         through the internet, even after I                                 through the internet, even after I
                                                                         reasonably tried to do so.                                         reasonably tried to do so.
                                                      U Active duty. I am currently on active military                   U Active duty. I am currently on active military
                                                                         duty in a military combat zone.                                    duty in a military combat zone.
                                                      If you believe you are not required to receive a                   If you believe you are not required to receive a
                                                      briefing about credit counseling, you must file a                  briefing about credit counseling, you must file a
                                                      motion for waiver of credit counseling with the court.             motion for waiver of credit counseling with the court.




      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                         page 5
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      Debtor 1      C2
                    Frt Nrn,,e   'lAiddIe Name
                                                                    0 c)1/
                                                            Last Name
                                                                                                            Case number




     I           Answer These Questions for Reporting Purposes

                                                 16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
      16. What kind of debts do                       as "incurred by an individual primarily for a personal, family, or household purpose."
          you have?
                                                      U No. Go to line 16b.
                                                           Yes. Go to line 17.
                                                 16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                      money for a business or investment or through the operation of the business or investment.
                                                      U No. Go to line 16c.
                                                      U Yes. Goto line 17.
                                                 1 6c. State the type of debts you owe that are not consumer debts or business debts.



      17. Are you filing under
          Chapter 7?                             U No. I am not filing under Chapter 7. Go to line 18.
          Do you estimate that after             M Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
          any exempt property is                           administrative expenses are paid that funds will be available to distribute to unsecured creditors?
          excluded and                                     WNo
          administrative expenses
          are paid that funds will be                      U Yes
          available for distribution
          to unsecured creditors?

          How many creditors do                     1-49                                U 1,000-5,000                               U 25,001-50,000
          you estimate that you                  U 50-99                                U 5,001-10,000                              U 50,001-100,000
          owe?                                   U 100-199                              U 10,001-25,000                             U More than 100,000
                                                 U 200-999
          How much do you                        U $0-550,000                           U $1,000,001-S1 million                     U $500,000,001-$1 billion
          estimate your assets to                1b $50,001-5100,000                    U $10,000,001-$50 million                   U $1,000,000,001-$10 billion
          be worth?                              U $100,001-$500,000                    U $50,000,001-5100 million                  U $10,000,000,001-$50 billion
                                                 U $500,001-$1 million                  U $100,000,001 -$500 million                U More than $50 billion
          How much do you                        0 $0-$50,000                           U $1,000,001-$10 million                    U $500,000,001-$i billion
          estimate your liabilities              U $50,001-S1 00,000                    U $10,000,001450 million                    U $1,000,000,001-$10 billion
          to be?                                 U $100,001-$500,000                    U $50,000,001-$100 million                  U $10,000,000,001450 billion
                                                 U $500,001-S1 million                  U $100,000,001-$500 million                 U More than $50 billion
         FT'     Sign Below

                                                 I have examined this petition, and I declare under penalty of perjury that the information provided is true and
      For you                                    correct.
                                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                                 of title ii, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                                 under Chapter 7.
                                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                                 this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                 I request relief in accordance with the chapter of title ii, United States Code, specified in this petition.
                                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                                 with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                                 18 U.S.C. § 152, 1341, 1519, and 3571.



                                                    Signature of Debtor I                                           Signature of Debtor 2

                                                    Executed on                                                     Executed on
                                                                         MM / DD /YYYY                                     MM / DD              /YYYY
                                                            C-   .. .'      .• _______- _______ -        -                .-                                        ..-.- -

      Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                      page 6
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      Debtor 1     Gør1
                    First aree
                                 (ô,y'     I
                                  Middle Name
                                                           sc,441
                                                           Last Name
                                                                                                           Case number      (if knom,,(______________________________________



                                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
      For your attorney, if you are             to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
      represented by one                        available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
      If you are not represented                knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
      by an attorney, you do not
      need to file this page.
                                                x                                                                   Date
                                                    Signature of Attorney for Debtor                                                  MM /       DD /YYYY




                                                    Printed name



                                                    Firm name



                                                    Number Street




                                                    City                                                            State            ZIP Code




                                                    Contact phone                                                   Email address




                                                    Bar number                                                      State




        _____                                                                                . .*.                           TT   _____




      Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                          page 7
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      Debtor 1                       4wi'tA-Qi                                                            Case number (if known)
                    F rstl   "   Midd le Name               Last Name




      For you if you are filing this                 The law allows you, as an individual, to represent yourself in bankruptcy court, but you
      bankruptcy without an                          should understand that many people find it extremely difficult to represent
      attorney                                       themselves successfully. Because bankruptcy has long-term financial and legal
                                                     consequences, you are strongly urged to hire a qualified attorney.
      If you are represented by
      an attorney, you do not                        To be successful, you must correctly file and handle your bankruptcy case. The rules are very
      need to file this page.                        technical, and a mistake or inaction may affect your rights. For example, your case may be
                                                     dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                                     hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                                     firm if your case is selected for audit. If that happens, you could lose your right to file another
                                                     case, or you may lose protections, including the benefit of the automatic stay.

                                                     You must list all your property and debts in the schedules that you are required to file with the
                                                     court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                                     in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                                     property or properly claim it as exempt, you may not be able to keep the property. The judge can
                                                     also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                                     case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                                     cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                                     Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                                     If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                                     hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                                     successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                                     Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                                     be familiar with any state exemption laws that apply.

                                                     Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                                     consequences?
                                                     U No
                                                     it Yes

                                                     Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                                     inaccurate or incomplete, you could be fined or imprisoned?
                                                     UN0
                                                        Yes

                                                     Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                                 '      No
                                                     U Yes. Name of Person
                                                               Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                                     By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                                     have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                                     attorney may cause me to lose my rights or property if I do not properly handle the case.


                                                x                        WZ4 4-
                                                                                                               X
                                                      Signature of Debtor I                                         Signature of Debtor 2

                                                     Date               3                                           Date
                                                                        MM/DD /YYYY                                                  MM/ DD/YYYY

                                                     Contactphone       'c'°I c7.                                   Contact phone

                                                     Cell phone                                                     Cell phone

                                                     Email address                                                  Email address



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